        Case 0:21-cv-62431-RS Document 6 Entered on FLSD Docket 12/02/2021 Page 1 of 3

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                              for the
                                                   Southern District
                                                __________  District of
                                                                     of Florida
                                                                        __________

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                            Plaintiff(s)                        )
                                                                )
                                v.                                      Civil Action No.
                                                                )
                                                                )
                                                                )
                                                                )
                                                                )
                           Defendant(s)                         )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT

                Dec 2, 2021
Date:
                                                                                     Signature of Clerk or s/ Alisha
                                                                                                           Deputy    Beasley-Martin
                                                                                                                  Clerk
        Case 0:21-cv-62431-RS Document 6 Entered on FLSD Docket 12/02/2021 Page 2 of 3

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                              for the
                                                   Southern District
                                                __________  District of
                                                                     of Florida
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                            Plaintiff(s)                        )
                                                                )
                                v.                                      Civil Action No.
                                                                )
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                                                                )
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                                                                )
                           Defendant(s)                         )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)




          A lawsuit has been filed against you.

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are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT

              Dec 2, 2021
Date:
                                                                                     Signature of Clerk or Deputy Clerk
                                                                                                           s/ Alisha  Beasley-Martin
        Case 0:21-cv-62431-RS Document 6 Entered on FLSD Docket 12/02/2021 Page 3 of 3

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                              for the
                                                   Southern District
                                                __________  District of
                                                                     of Florida
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                            Plaintiff(s)                        )
                                                                )
                                v.                                      Civil Action No.
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                                                                )
                           Defendant(s)                         )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)




          A lawsuit has been filed against you.

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P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:
             Dec 2, 2021
                                                                                                           s/ Alisha Beasley-Martin
                                                                                     Signature of Clerk or Deputy Clerk
